                                            Case 20-12814-mkn         Doc 1039      Entered 09/29/20 09:45:21     Page 1 of 20




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                                        6
                                                                       UNITED STATES BANKRUPTCY COURT
                                        7
                                                                                  DISTRICT OF NEVADA
                                        8
                                            In re                                                  Case No. BK-S-20-12814-mkn
                                        9
                                       10           RED ROSE, INC.,                                Jointly Administered with
                                                                                                   Case No. BK-S-20-12815-mkn
                                       11             Affects Beachhead Roofing and Supply, Inc.   Case No. BK-S-20-12816-mkn
                                                      Affects California Equipment Leasing         Case No. BK-S-20-12818-mkn
1980 Festival Plaza Drive, Suite 700




                                       12              Association, Inc.                           Case No. BK-S-20-12819-mkn
    Las Vegas, Nevada 89135
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                                                      Affects Fences 4 America, Inc.               Case No. BK-S-20-12820-mkn
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                                       13             Affects James Petersen Industries, Inc.      Case No. BK-S-20-12821-mkn
                                       14             Affects PD Solar, Inc.                       Case No. BK-S-20-12822-mkn
                                                      Affects Petersen Roofing and Solar LLC       Case No. BK-S-20-12823-mkn
                                       15             Affects Petersen-Dean, Inc.                  Case No. BK-S-20-12824-mkn
                                                      Affects PetersenDean Hawaii LLC              Case No. BK-S-20-12825-mkn
                                       16             Affects PetersenDean Roofing and Solar       Case No. BK-S-20-12826-mkn
                                       17              Systems, Inc.                               Case No. BK-S-20-12827-mkn
                                                      Affects PetersenDean Texas, Inc.             Case No. BK-S-20-12829-mkn
                                       18             Affects Red Rose, Inc.                       Case No. BK-S-20-12831-mkn
                                                      Affects Roofs 4 America, Inc.                Case No. BK-S-20-12833-mkn
                                       19             Affects Solar 4 America, Inc.
                                                      Affects Sonoma Roofing Services, Inc.        Chapter 11
                                       20             Affects TD Venture Fund, LLC
                                       21             Affects Tri-Valley Supply, Inc.              AMENDED SCHEDULES OF ASSETS
                                                      Affects All Debtors                          AND LIABILITIES
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       Case 20-12814-mkn              Doc 1039        Entered 09/29/20 09:45:21               Page 2 of 20




      GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY
         AND DISCLAIMER REGARDING THE DEBTORS’ SCHEDULES OF
      ASSETS AND LIABILITIES, AND STATEMENTS OF FINANCIAL AFFAIRS

         Petersen-Dean, Inc., Beachhead Roofing & Supply, Inc., California Equipment Leasing

Association, Inc., Fences 4 America, Inc., James Petersen Industries, Inc., PD Solar, Inc., Petersen

Roofing and Solar LLC, PetersenDean Hawaii LLC, PetersenDean Roofing and Solar Systems,

Inc., PetersenDean Texas, Inc., Red Rose, Inc., Roofs 4 America, Inc., Solar 4 America, Inc.,

Sonoma Roofing Services, Inc., TD Venture Fund, LLC, and Tri-Valley Supply, Inc., debtors and

debtors in possession (collectively, the “Debtors”), in the above captioned chapter 11 cases (the

“Chapter 11 Cases”), by and through their proposed undersigned counsel, Fox Rothschild LLP

(“Counsel”), are filing their respective Schedules of Assets and Liabilities (collectively, the

“Schedules”) and Statements of Financial Affairs (collectively, the “Statements,” and together with

the Schedules, collectively, the “Schedules and Statements”)1 in the United States Bankruptcy

Court for the District of Nevada (the “Court”). The Debtors, which were assisted by their

professional advisors, prepared the Schedules and Statements in accordance with section 521 of

title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), and Rule

1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

         These Global Notes and Statement of Limitations, Methodology and Disclaimer regarding

the Schedules and Statements (collectively, the “Global Notes”) pertain to, are incorporated by

reference in, and comprise an integral part of, all of the Schedules and Statements. These Global

Notes should be referred to, and reviewed in connection with, any review of the Schedules and

Statements.


1
 These Global Notes are in addition to any specific notes that may be contained in each of the Schedules or Statements.
The fact that the Debtors have prepared a general note herein with respect to any of the Schedules and Statements and
not to others should not be interpreted as a decision by the Debtors to exclude the applicability of such general note
to any of the Debtors’ remaining Schedules and Statements, as appropriate.



Active\112145750.v1-7/9/20
         Case 20-12814-mkn      Doc 1039      Entered 09/29/20 09:45:21        Page 3 of 20




          The Schedules and Statements have been prepared based on information provided by the

Debtors’ management and are unaudited and subject to potential adjustment. In preparing the

Schedules and Statements, the Debtors relied on financial data derived from their books and

records that was available at the time of preparation. The Debtors have used commercially

reasonable efforts to ensure the accuracy and completeness of such financial information; however,

subsequent information or discovery may result in material changes to the Schedules and

Statements and inadvertent errors, omissions or inaccuracies may exist. The Debtors and their

estates reserve all rights to amend or supplement their Schedules and Statements.

          Reservation of Rights. Nothing contained in the Schedules and Statements or these

Global Notes shall constitute a waiver of any of the Debtors’ rights or an admission with respect

to their chapter 11 cases, including, but not limited to, any issues involving objections to claims,

setoff    or   recoupment,   substantive   consolidation,   equitable    subordination,   defenses,

characterization or re-characterization of contracts, leases and claims, assumption or rejection of

contracts and leases and/or causes of action arising under the Bankruptcy Code or any other

applicable laws to recover assets or avoid transfers.

          Description of the Cases and “As of” Information Date. On June 11, 2020 (the “Petition

Date”), each of the Debtors filed a voluntary petition for relief with the Court under chapter 11 of

the Bankruptcy Code. The Debtors are operating their business and managing their properties as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On June 23,

2020, the Court entered an order [ECF No. 94] jointly administering the Debtors’ chapter 11 cases

pursuant to Bankruptcy Rule 1015(b). All financial information for the Debtors in the Schedules

and Statements and these Global Notes is provided as of the Petition Date unless otherwise

indicated herein or in the Schedules and Statements.


                                                 2
Active\112145750.v1-7/9/20
       Case 20-12814-mkn        Doc 1039      Entered 09/29/20 09:45:21        Page 4 of 20




        Basis of Presentation. The Schedules and Statements do not purport to represent financial

statements prepared in accordance with Generally Accepted Accounting Principles (“GAAP”), nor

are they intended to fully reconcile to any financial statements prepared by the Debtors. Therefore,

combining the assets and liabilities set forth in the Schedules and Statements could result in

amounts that could be substantially different from any financial information regarding the Debtors

prepared on a consolidated basis under GAAP. Unlike any consolidated financial statements, the

Schedules and Statements, except where otherwise indicated herein or in the Schedules and

Statements, reflect the assets and liabilities of each Debtor on a non-consolidated basis, where

possible.

        Recharacterization.     Notwithstanding the Debtors’ reasonable efforts to properly

characterize, classify, categorize, or designate certain claims, assets, executory contracts,

unexpired leases, and other items reported in the Schedules and Statements, the Debtors may

nevertheless seek to recharacterize, reclassify, recategorize, redesignate, add, or delete items

included in the Schedules and Statements, and the Debtors and their estates reserve all rights in

this regard.

        Consolidated Entity Accounts Payable and Disbursement Systems.                The Debtors

maintain a centralized cash management system (the “Cash Management System”). The Debtors

maintain the Cash Management System to collect, concentrate, and disburse funds generated from

their operations. A more complete description of the Debtors’ Cash Management System is set

forth in the Emergency Motion For Order Pursuant to 11 U.S.C. §§363, 1107 and 1108 (I)

Authorizing Continued Use of Prepetition Bank Accounts; and (II) Granting Related Relief (the

“Cash Management Motion”) filed on June 16, 2020 (ECF No. 36].




                                                 3
Active\112145750.v1-7/9/20
       Case 20-12814-mkn          Doc 1039     Entered 09/29/20 09:45:21        Page 5 of 20




        Insiders. For purposes of the Schedules and Statements, the Debtors define “insiders”

pursuant to section 101(31) of the Bankruptcy Code as (a) current or former directors, officers or

persons in control of a Debtor, (b) relatives of current or former directors, officers, or persons in

control of a Debtor, (c) a partnership in which a Debtor is a general partner or (d) an affiliate of a

Debtor. Except as otherwise disclosed herein or in the Statements, payments to insiders listed in

(a) through (d) above are set forth on Statement 3(c). Persons listed as “insiders” have been

included for informational purposes only, and such listing is not intended to be, nor should it be

construed as, a legal characterization of such person as an insider, and does not act as an admission

of any fact, claim, right or defense, and all such rights, claims, and defenses with respect thereto

are hereby expressly reserved. Further, the Debtors and their estates do not take any position with

respect to: (a) such person’s influence over the control of the Debtors; (b) the management

responsibilities or functions of such individual; (c) the decision-making or corporate authority of

such individual; or (d) whether such individual could successfully argue that he or she is not an

“insider” under applicable law, including, without limitation, the federal securities laws, or with

respect to any theories of liability or for any other purpose.

        Summary of Significant Reporting Policies. The following is a summary of certain

significant reporting policies:

        a.       Current Market Value — Net Book Value. In many instances, current market

valuations are neither maintained by, nor readily available to, the Debtors.            It would be

prohibitively expensive and unduly burdensome to obtain current market valuations of the

Debtors’ property interests that are not maintained or readily available. Accordingly, unless

otherwise indicated herein or in the Schedules and Statements, the Schedules and Statements

reflect the net book values, rather than current market values, of the Debtors’ assets as of the


                                                  4
Active\112145750.v1-7/9/20
       Case 20-12814-mkn         Doc 1039      Entered 09/29/20 09:45:21         Page 6 of 20




Petition Date (unless another date is indicated herein or in the Schedules and Statements) and may

not reflect the net realizable value.

        b.       First Day Orders. Pursuant to various “first day” orders and any supplements or

amendments to such orders entered by the Court (each, a “First Day Order,” and collectively, the

“First Day Orders”), the Debtors and their estates are authorized to pay certain pre-petition claims,

including, without limitation, certain claims relating to employee wages and benefits. Except to

the extent that these parties have claims in excess of the authority granted to the Debtors under the

First Day Orders, in certain instances, the Debtors may have not included certain claims of this

nature in the Schedules and Statements.

        c.       Setoffs. To the extent the Debtors have incurred or effectuated any ordinary course

setoffs with third parties (including, without limitation, customers and vendors) prior to the

Petition Date, or are subject to the occurrence of, or maintain the right to effectuate, ordinary

course setoffs on account of activities occurring prior to the Petition Date, such setoffs are excluded

from the Debtors’ Schedules and Statements. The Debtors and their estates reserve all of their

rights with respect to any such setoffs.

        d.       Credits and Adjustments. Claims of creditors are listed in the amounts entered

on the Debtors’ books and records and may not reflect credits, allowances or other adjustments

due from such creditors to the Debtors. The Debtors and their estates reserve all of their rights

with regard to such credits, allowances and other adjustments, including, without limitation, the

right to assert claims objections, setoffs and recoupments with respect to the same.

        e.       Accounts Receivable. The accounts receivable information listed on Schedule B

includes both billed and unbilled receivables, and is net of allowance for doubtful accounts.




                                                  5
Active\112145750.v1-7/9/20
       Case 20-12814-mkn         Doc 1039       Entered 09/29/20 09:45:21          Page 7 of 20




        f.       Leases. In the ordinary course of business, the Debtors may lease certain real

property, fixtures and equipment from certain third-party lessors for use in the daily operation of

their business. Nothing in the Schedules and Statements is, or shall be construed as, an admission

as to the determination of the legal status of any lease (including, without limitation, whether any

lease is a true lease or a financing arrangement, and whether such lease is unexpired), and the

Debtors and their estates reserve all rights with respect to such issues.

        g.       Entity Classification Issues. The Debtors have endeavored in good faith to

identify the assets owned by each Debtor, the liabilities owed by each Debtor, and the Debtor that

is a counterparty to executory contacts and unexpired leases. While the Schedules reflect the

results of this effort, several factors may impact the ability of the Debtors to precisely assign assets,

liabilities, and executory contacts and unexpired leases to particular Debtor entities, including, but

not limited to: (a) certain assets and executory contacts and unexpired leases may be primarily

used by a Debtor other than the entity which holds title to such assets or is a party to such executory

contact and unexpired lease according to the Debtors’ books and records; (b) the Debtor entity that

owns or holds title to certain assets or is a party to certain executory contacts and unexpired leases

may not be ascertainable given the consolidated manner in which the Debtors have operated their

business; (c) certain liabilities may have been nominally incurred by one Debtor, yet such liabilities

may have actually been incurred by, or the invoices related to such liabilities may have been issued

to or in the name of, another Debtor; and (d) certain creditors of the Debtors may have treated one

or more of the Debtors as a consolidated entity rather than as differentiated entities.

        h.       Executory Contracts and Unexpired Leases. The Debtors have not set forth

executory contracts and unexpired leases as assets in the Schedules and Statements, even though

these contracts and leases may have some value to the Debtors’ estates. Rather, the Debtors’


                                                   6
Active\112145750.v1-7/9/20
       Case 20-12814-mkn         Doc 1039      Entered 09/29/20 09:45:21        Page 8 of 20




executory contracts and unexpired leases have been set forth solely on Schedule G. The Debtors’

rejection of executory contracts and unexpired leases may result in the assertion of rejection

damages claims; however, the Schedules and Statements do not reflect any claims for rejection

damages. The Debtors and their estates reserve any and all rights with respect to the assertion of

any such claims.

        i.       Intercompany Claims. For certain reporting and internal accounting purposes, the

Debtors record certain intercompany receivables and payables. Receivables and payables among

the Debtors are reported as assets on Schedule B or liabilities on Schedule F as appropriate

(collectively, the “Intercompany Claims”). While the Debtors have used commercially reasonable

efforts to ensure that the proper intercompany balance is attributed to each legal entity, the Debtors

and their estates reserve all rights to amend the Intercompany Claims in the Schedules and

Statements, including, without limitation, to change the characterization, classification,

categorization or designation of such claims, including, but not limited to, the right to assert that

any or all Intercompany Claims are, in fact, consolidated or otherwise properly assets or liabilities

of a different Debtor entity.

        j.       Unknown or Undetermined Amounts. Where a description of an amount is left

blank or listed as “unknown” or “undetermined,” such response is not intended to reflect upon the

materiality of such amount.

        k.       Liabilities. At the time of the filing of the Schedules and Statements, the Debtors

are continuing to reconcile certain accounts payable liabilities. The Debtors have sought to

allocate liabilities between the prepetition and post-petition periods based on the information

available at the time of the filing of the Schedules and Statements. As additional information

becomes available and further research is conducted, the allocation of liabilities between the


                                                  7
Active\112145750.v1-7/9/20
       Case 20-12814-mkn         Doc 1039      Entered 09/29/20 09:45:21         Page 9 of 20




prepetition and postpetition periods may change. Accordingly, the Debtors and their estates

reserve all rights to amend, supplement, or otherwise modify the Schedules and Statements as is

necessary or appropriate. The liabilities listed on the Schedules do not reflect any analysis of any

claims under section 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors and their estates

reserve all rights to dispute or challenge the validity of any claims asserted under section 503(b)(9)

of the Bankruptcy Code, or characterization of the structure of any transaction, document or

instrument related to any such claim.

        l.       Estimates. To timely close the books and records of the Debtors and to prepare

such information on a legal entity basis, the Debtors were required to make certain estimates and

assumptions that affect the reported amounts of assets and liabilities and reported revenue and

expenses. The Debtors and their estates reserve all rights to amend the reported amounts of assets,

liabilities, revenue and expenses to reflect changes in those estimates and assumptions.

        m.       Classifications. Listing a claim (a) on Schedule D as “secured,” (b) on Schedule

E as “unsecured priority,” or (c) on Schedule F as “unsecured non-priority,” or listing a contract

or lease on Schedule G as “executory” or “unexpired,” does not constitute an admission by the

Debtors and their estates of the legal rights of any claimant, or a waiver of the rights of the Debtors

and their estates to recharacterize or reclassify any claim or contract.

        n.       Claims Description.     Any failure to designate a claim on a given Debtor’s

Schedules as “disputed,” “contingent,” or “unliquidated” does not constitute an admission by the

Debtor and its estate that such amount is not “disputed,” “contingent” or “unliquidated.” The

Debtors and their estates reserve all rights to dispute, or to assert any offsets or defenses to, any

claim reflected on their Schedules on any grounds, including, without limitation, amount, liability,

validity, priority or classification, or to otherwise subsequently designate any claim as “disputed,”


                                                  8
Active\112145750.v1-7/9/20
      Case 20-12814-mkn         Doc 1039      Entered 09/29/20 09:45:21         Page 10 of 20




“contingent” or “unliquidated.” Listing a claim on the Schedules does not constitute an admission

of liability by the Debtors and their estates, and the Debtors and their estates reserve all rights to

amend the Schedules.

        o.       Guaranties and Other Secondary Liability Claims.             Guaranties and other

secondary liability claims (collectively, the “Guaranties”) with respect to the Debtors’ contracts

and leases may not be included on Schedule H and the Debtors believe that certain Guaranties

embedded in the Debtors’ executory contracts, unexpired leases, secured financings, debt

instruments and similar agreements may exist. Therefore, the Debtors and their estates reserve all

rights to amend the Schedules to the extent additional Guaranties are identified.

                                    NOTES FOR SCHEDULES

        Schedule B — Personal Property. Despite their commercially reasonable efforts to

identify all known assets, the Debtors may not have listed all of their respective causes of action

or potential causes of action against third parties as assets in their respective Schedules and

Statements, including, but not limited to, causes of action arising under the Bankruptcy Code or

any other applicable laws to recover assets or avoid transfers. The Debtors and their estates reserve

all of their rights with respect to any claims and causes of action that they may have, and neither

these Global Notes nor the Schedules and Statements shall be deemed a waiver of any such claims

and causes of actions, or in any way waive, prejudice, impair or otherwise affect the assertion of

such claims and causes of action.

        Patents, trademarks, and other intellectual property is listed on Schedule B22 as an

unknown or undetermined amount on account of the fact that the fair market value of such

ownership is dependent on numerous variables and factors and may differ significantly from the

net book value.


                                                  9
Active\112145750.v1-7/9/20
      Case 20-12814-mkn          Doc 1039      Entered 09/29/20 09:45:21          Page 11 of 20




        Since the deposit provided for under that Order Pursuant to 11 U.S.C. § 366 Re: Adequate

Assurance of Payment for Postpetition Utility Services [ECF No. 54] did not exist as of the Petition

Date, the Debtors have not accounted for it on Schedule B.

        Schedule D — Creditors Holding Secured Claims. Except as otherwise agreed pursuant

to a stipulation, agreed order, or general order entered by the Court that is or becomes final, the

Debtors and their estates reserve all rights to dispute or challenge the validity, perfection or

immunity from avoidance of any lien purported to be granted or perfected in any specific asset to

a creditor listed on Schedule D of any of the Debtors. Moreover, although the Debtors may have

scheduled claims of various creditors as secured claims for informational purposes, no current

valuation of the Debtors’ assets in which such creditors may have a lien has been undertaken.

Except as otherwise agreed pursuant to a stipulation, agreed order, or general order entered by the

Court that is or becomes final, the Debtors and their estates reserve all rights to dispute or challenge

the secured nature of any such claim or the characterization of the structure of any transaction,

document or instrument related to any such claim. The descriptions provided in Schedule D are

intended only to be a summary. The Debtors have not included on Schedule D all parties that may

believe their claims are secured through setoff rights, deposits posted by, or on behalf of, the

Debtors, inchoate statutory lien rights, or real property lessors, utility companies and other parties

which may hold security deposits. By listing a party on Schedule D based on a UCC-1 filing, the

Debtors and their estates are not conceding that such party actually holds a perfected, unavoidable

security interest in the asset that is the subject of such filing, and reserve all rights as set forth in

these Global Notes. Certain of the amounts listed for parties on Schedule D may not be reflective

of any accrued and unpaid interest, prepayment premiums, and other similar fees or expenses that

such parties may be entitled to.


                                                   10
Active\112145750.v1-7/9/20
      Case 20-12814-mkn        Doc 1039       Entered 09/29/20 09:45:21       Page 12 of 20




        Schedule E — Creditors Holding Unsecured Priority Claims. The Debtors have not

listed on Schedule E any tax and priority employee wage and benefit claims for which the Debtors

have been granted authority (but not direction) to pay pursuant to a First Day Order. The Debtors

believe that such claims have been, or will be, satisfied in the ordinary course of business during

these chapter 11 cases pursuant to the authority granted in the relevant First Day Orders. The

Debtors and their estates reserve all rights to dispute or challenge whether creditors listed on

Schedule E are entitled to priority claims.

        Schedule F — Creditors Holding Unsecured Non-Priority Claims. Certain creditors

listed on Schedule F may owe amounts to the Debtors; as such, the Debtors and their estates may

have valid setoff and recoupment rights with respect to such amounts, which rights are not reflected

on Schedule F. Also, the amounts listed on Schedule F reflect known prepetition claims as of

Petition Date. Such amounts do not reflect any rights of setoff or recoupment that may be asserted

by any creditors listed on Schedule F, and the Debtors and their estates reserve all rights to

challenge any setoff and recoupment rights that may be asserted against them. The Debtors and

their estates reserve all rights to dispute or challenge the validity, perfection or immunity from

avoidance of any lien purported to be perfected by a creditor listed on Schedule F. As noted above,

certain claims listed on Schedule F may be entitled to priority under section 503(b)(9) of the

Bankruptcy Code, and the Debtors and their estates reserve all rights with respect to any such

claims. Schedule F contains certain information regarding pending litigation involving the

Debtors.     The amounts for these potential claims are listed as unknown or undetermined,

contingent, unliquidated and disputed in the Schedules.

        The Debtors have used commercially reasonable efforts to include all creditors on Schedule

F; however, the Debtors believe that there are instances in which vendors have yet to provide


                                                11
Active\112145750.v1-7/9/20
      Case 20-12814-mkn         Doc 1039      Entered 09/29/20 09:45:21      Page 13 of 20




proper invoices for prepetition goods or services. While the Debtors maintain general accruals to

account for these liabilities in accordance with GAAP, these amounts are estimates and not tracked

on a vendor by vendor basis, and as such may not have been included on Schedule F. The Debtors

may not have listed on Schedule F certain (but not all) unsecured non-priority employee wage or

benefit claims, claims related to vendors, or claims related to the Debtors’ insurance programs for

which the Debtors have been granted authority (but not direction) to pay pursuant to a First Day

Order. The Debtors believe that such claims have been, or will be, satisfied in the ordinary course

of business during these chapter 11 cases pursuant to the authority granted in the relevant First

Day Orders. The Debtors and their estates reserve their rights to dispute or challenge whether

creditors listed on Schedule F are entitled to priority claims.

        Schedule G — Executory Contracts and Unexpired Leases. Although commercially

reasonable efforts have been made to ensure the accuracy of Schedule G regarding executory

contracts and unexpired leases, inadvertent errors, omissions or over-inclusion may have occurred

in preparing Schedule G. In the ordinary course of business, the Debtors enter into various

agreements with their customers and vendors. The Debtors may have entered into various other

types of agreements in the ordinary course of their business, such as indemnity agreements,

supplemental agreements, letter agreements, and confidentiality agreements which may not be set

forth in Schedule G. Omission of a contract, lease or other agreement from Schedule G does not

constitute an admission that such omitted contract, lease or agreement is not an executory contract

or unexpired lease. Schedule G may be amended at any time to add any omitted executory

contracts, unexpired leases and other agreements to which the Debtors are a party, including,

without limitation, to add any executory contracts, unexpired leases and other agreements that the

Debtors, due to the voluminous number of such contracts, leases and agreements, were unable to


                                                 12
Active\112145750.v1-7/9/20
      Case 20-12814-mkn          Doc 1039      Entered 09/29/20 09:45:21          Page 14 of 20




list on Schedule G at this time. Likewise, the listing of an agreement on Schedule G does not

constitute an admission that such agreement is an executory contract or unexpired lease, or that

such agreement was in effect or unexpired on the Petition Date or is valid or enforceable. The

agreements listed on Schedule G may have expired or may have been modified, amended, or

supplemented from time to time by various amendments, restatements, waivers, estoppel

certificates, letters and other documents, instruments and agreements which may not be listed on

Schedule G.

        Any and all rights, claims and causes of action of the Debtors and their estates with respect

to the agreements listed on Schedule G are hereby reserved and preserved. The Debtors and their

estates hereby reserve all of their rights to: (a) dispute the validity, status, or enforceability of any

agreements set forth on Schedule G; (b) dispute or challenge the characterization of the structure

of any transaction, document or instrument related to a creditor’s claim, including, but not limited

to, the agreements listed on Schedule G; and (c) amend or supplement Schedule G, as necessary,

including, without limitation, to modify which Debtor entity is a counterparty to the agreement.

                                   NOTES FOR STATEMENTS

        Statement 3b. Statement 3b includes any disbursement or other transfer made by that

particular Debtor, except for those made to insiders, employees, and bankruptcy professionals.

The amounts listed in Statement 3b reflect that Debtor’s disbursements netted against any check

level detail; thus, to the extent a disbursement was made to pay for multiple invoices, only one

entry has been listed on Statement 3b. All disbursements listed on Statement 3b were made by

that particular Debtor.

        Statement 3(c) and 23. As previously set forth herein and in more detail in the Cash

Management Motion, the Debtors maintain a centralized cash management system. As a result,

during the year preceding the Petition Date, certain payments may have been made to insiders of
                                                13
Active\112145750.v1-7/9/20
      Case 20-12814-mkn           Doc 1039   Entered 09/29/20 09:45:21         Page 15 of 20




each of the Debtors by one or more of the other Debtors, and some of these payments may have

been for the benefit of another Debtor. These payments are listed on Statement 3(c) and 23 for the

Debtor making the payment, even if the payment was made to or for the benefit of an insider of

another Debtor.

        Statement 4(a). The Debtors and their estates reserve all rights, claims and defenses with

respect to any and all listed lawsuits and administrative proceedings (or potential lawsuits and

administrative proceedings). The listing of any such suits and proceedings shall not constitute an

admission by the Debtors and their estates of any liabilities or that the actions or proceedings were

correctly filed against the Debtors. The Debtors and their estates reserve all rights to assert that

the Debtors are not an appropriate party to such actions or proceedings. The Debtors may not have

included on Statement 4(a) certain parties that may have asserted informal workers’ compensation

claims or similar claims that were resolved or otherwise addressed without formal litigation or an

administrative hearing or similar proceeding having been commenced.

        Statement 9. Debtor PDI made payments on behalf of all of the Debtors to various

professionals for restructuring services. The payments listed in Statement 9 are generally only for

restructuring-related services.    The Debtors may have made other payments to the listed

professionals for non-bankruptcy related services, but these payments are not listed in Statement

9.




                                                 14
Active\112145750.v1-7/9/20
  Fill in this information to identify the case:

 Debtor        PetersenDean Hawaii LLC


 United States Bankruptcy Court for the: Nevada


 Case number         20-12823-mkn
  (if known)
                                                                                                                             þ Check if this is an
                                                                                                                                amended filing

 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                          04/19

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
 all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which
 have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or
 unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
 debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
 sheet is attached, include the amounts from the attachment in the total for the pertinent part.


 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


 Part 11: ALL OTHER ASSETS

 70. DOES THE DEBTOR OWN ANY OTHER ASSETS THAT HAVE NOT YET BEEN REPORTED ON THIS FORM?
     INCLUDE ALL INTERESTS IN EXECUTORY CONTRACTS AND UNEXPIRED LEASES NOT PREVIOUSLY REPORTED ON THIS FORM.
       ¨       No. Go to Part 12.
       þ       Yes. Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor’s interest

 77. OTHER PROPERTY OF ANY KIND NOT ALREADY LISTED EXAMPLES: SEASON TICKETS,
     COUNTRY CLUB MEMBERSHIP

                                                                         ADDITION
       INTERCOMPANY RECEIVABLE FROM CALIFORNIA EQUIPMENT LEASING ASSOCIATION, INC.                                                       UKNOWN

                                                                         ADDITION
       INTERCOMPANY RECEIVABLE FROM PETERSEN-DEAN, INC.                                                                                  UKNOWN

 78    Total of Part 11.
       ADD LINES 71 THROUGH 77. COPY THE TOTAL TO LINE 90.                                                                             UNKNOWN


 79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     þ No
     ¨ Yes

 Part 12: Summary


 In Part 12 copy all of the totals from the earlier parts of the form.


          Type of property                                                   Current value of        Current value of real
                                                                             personal property       property
 80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.           $840,389.92

 81. Deposits and prepayments. Copy line 9, Part 2.                                      $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                  $3,167,820.10


 83. Investments. Copy line 17, Part 4.




Official Form 206A/B                                 Schedule A/B: Assets - Real and Personal Property                                  Page 1 of 2
 Debtor       PetersenDean Hawaii LLC                                                                            Case number (if known)   20-12823-mkn
              (Name)


 84. Inventory. Copy line 23, Part 5.


 85. Farming and fishing-related assets. Copy line 33, Part 6.

 86. Office furniture, fixtures, and equipment; and collectibles.                                         UNKNOWN
     Copy line 43, Part 7.

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            UNKNOWN

 88. Real property. Copy line 56, Part 9. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .è              UNKNOWN


 89. Intangibles and intellectual property. Copy line 66, Part 10.                                        UNKNOWN

 90. All other assets. Copy line 78, Part 11.                                             +               UNKNOWN


 91. Total. Add lines 80 through 90 for each column. . . . . . . . . 91a.                              $4,008,210.02         + 91b.           UNKNOWN




 92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $4,008,210.02




Official Form 206A/B                                          Schedule A/B: Assets - Real and Personal Property                                                  Page 2 of 2
  Fill in this information to identify the case:

 Debtor        PetersenDean Hawaii LLC


 United States Bankruptcy Court for the: Nevada


 Case number         20-12823-mkn
  (if known)
                                                                                                                                   þ Check if this is an
                                                                                                                                      amended filing

 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                04/19

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
 unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
 on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
 (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
 the Additional Page of that Part included in this form.


  Part 1: List All Creditors with PRIORITY Unsecured Claims


 1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        ¨ No. Go to Part 2.
        þ Yes. Go to line 2.
 2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
        3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                 Total claim           Priority amount

  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims


 3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
        unsecured claims, fill out and attach the Additional Page of Part 2.

                                                                                                                                    Amount of claim

                                                                        ADDITION
 3.39           Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:                      UKNOWN
                                                                             Check all that apply.
                CALIFORNIA EQUIPMENT LEASING ASSOCIATION, INC.
                39300 CIVIC CENTER DRIVE, SUITE 300                          þ Contingent
                FREMONT, CA 94538                                            ¨ Unliquidated
                                                                             ¨ Disputed
                Date or dates debt was incurred
                                                                             Basis for the claim:
                VARIOUS                                                      INTERCOMPANY PAYABLE
                Last 4 digits of account number:                             Is the claim subject to offset?
                                                                             þ No
                                                                             ¨ Yes

                                                                        ADDITION
 3.243          Nonpriority creditor’s name and mailing address              As of the petition filing date, the claim is:                      UKNOWN
                                                                             Check all that apply.
                PETERSEN-DEAN, INC.
                39300 CIVIC CENTER DRIVE, SUITE 300                          þ Contingent
                FREMONT, CA 94538                                            ¨ Unliquidated
                                                                             ¨ Disputed
                Date or dates debt was incurred
                                                                             Basis for the claim:
                VARIOUS                                                      INTERCOMPANY PAYABLE
                Last 4 digits of account number:                             Is the claim subject to offset?
                                                                             þ No
                                                                             ¨ Yes




Official Form 206E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1 of 2
 Debtor       PetersenDean Hawaii LLC                                          Case number (if known)    20-12823-mkn
              (Name)


    Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


   5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                                  Total of claim amounts


   5a. Total claims from Part 1                                                                         5a.                      $21,150.13



   5b. Total claims from Part 2                                                                         5b.   +               $8,082,192.17



   5c. Total of Parts 1 and 2                                                                           5c.                   $8,103,342.30
       Lines 5a + 5b = 5c.




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 2
  Fill in this information to identify the case:

 Debtor        PetersenDean Hawaii LLC


 United States Bankruptcy Court for the: Nevada


 Case number         20-12823-mkn
  (if known)




 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    04/19
 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
 form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
 amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
 and the date. Bankruptcy Rules 1008 and 9011.

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
 connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
 and 3571.

                Delcaration and signature


          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

          þ Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

          ¨ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

          þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          ¨ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

          ¨ Schedule H: Codebtors (Official Form 206H)

          ¨ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          þ Amended Schedule

          ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          ¨ Other document that requires a declaration

          I declare under penalty of perjury that the foregoing is true and correct.


          Executed on 9/28/2020
                           MM / DD / YYYY
                                                           û     /s/ Stephen Nerheim
                                                                 Signature of individual signing on behalf of debtor


                                                                 Stephen Nerheim
                                                                 Printed name


                                                                 CFO
                                                                 Position or relationship to debtor




Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
